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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 12-61963-CIV-DIMITROULEAS

 ELLEN RAAB,

       Plaintiff,

 vs.

 CREDITORS INTERCHANGE
 RECEIVABLE MANAGEMENT, LLC,

       Defendant.
 _____________________________________/

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(i), ELLEN RAAB, Plaintiff herein, voluntarily

 dismisses without prejudice the above-entitled action as to CREDITORS INTERCHANGE

 RECEIVABLE MANAGEMENT, LLC, Defendant herein.


 Dated: December 3, 2012                       Respectfully submitted,


                                                   s/ J. Dennis Card, Jr.,_________________
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